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4                            UNITED STATES DISTRICT COURT

5                           EASTERN DISTRICT OF CALIFORNIA

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7    UNITED STATES OF AMERICA,                 No. 2:13-cr-00300-GEB
8                   Plaintiff,
9            v.                                TRIAL CONFIRMATION ORDER
10   JOHN HOLLISTER MAHAN, RUSSELL
     EUGENE GILMORE, and RICHARD
11   DAVID HEMSLEY,
12                  Defendants.
13

14                Trial     in   the     above-captioned       case,      scheduled    to

15   commence at 9:00 a.m. on October 20, 2015, was confirmed at the

16   hearing held on August 7, 2015.

17                                EVIDENTIARY DISPUTES

18                All evidentiary disputes capable of being resolved by

19   in limine motions shall be set forth in such motions no later

20   than September 25, 2015. Oppositions to the motions or statements

21   of non-opposition shall be filed no later than October 2, 2015.

22   Reply    briefs    shall    be    filed   no   later    than     October   9,   2015.

23   Hearing on the motions will commence at 9:00 a.m. on October 16,

24   2015.

25                Any     reasonably     anticipated        dispute     concerning    the

26   admissibility of evidence that is not briefed in an in limine

27   motion shall be included in trial briefs. E.D. Cal. R. 285(a)(3).

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1                                             TRIAL PREPARATION

2                  A.      No later than five court days before trial, the

3    following documents shall be filed: 1

4                          (1)       proposed        jury    instructions         and   a    proposed

5    verdict form;

6                          (2)       proposed voir dire questions to be asked by

7    the Court;

8                          (3)       trial briefs; and

9                          (4)       a    joint      statement      or    joint    proposed      jury

10   instruction that can be read to the jury during voir dire that

11   explains the nature of the case.

12                 B.      The government’s exhibits shall be numbered with

13   stickers.      Should       a       defendant     elect     to      introduce      exhibits   at

14   trial, such exhibits shall be designated by alphabetical letter

15   with stickers. Defendants shall meet and confer concerning the

16   marking of any exhibits to avoid duplication. The parties may

17   obtain exhibit stickers from the Clerk’s Office.

18                 C.      The parties estimate it will take approximately

19   six    (6)    court      days       to    try   the    case,     which      includes     closing

20   arguments. Each side indicated fifteen (15) minutes is sufficient
21   for    voir   dire,      which        may    be   used    after       the    judge     completes

22   judicial voir dire. Two (2) alternate jurors will be empaneled.

23                 The “struck jury” system will be used to select the

24   jury. The struck jury system is “designed to allow both the

25   prosecution        and    the        defense      a    maximum      number    of     peremptory

26   challenges. The venire . . . start[s] with about 3[6] potential
27   1
           Defendants need not file trial brief and/or proposed jury instructions
     if they have tactical or other reasons for not complying with this portion of
28   the order.
                                                       2
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1    jurors, from which the defense and the prosecution alternate[]

2    with strikes until a petite panel of 12 jurors remain[s].” Powers

3    v Ohio, 499 U.S. 400, 404-05 (1991); see also United States v.

4    Esparza-Gonzalez, 422 F.3d 897, 899 (9th Cir. 2005) (discussing

5    the “struck jury” system).

6                 The   Jury    Administrator          randomly     selects       potential

7    jurors and places their names on a list that will be provided to

8    each party in the numerical sequence in which they were randomly

9    selected. Each juror will be placed in his or her randomly-

10   selected seat. The first 12 jurors on the list will constitute

11   the petit jury unless one or more of those 12 is excused for some

12   reason. Assuming that the first listed juror is excused, the

13   thirteenth listed juror becomes one of the twelve jurors.

14                The   Courtroom      Deputy       will   give   each    juror      a    large

15   laminated card on which their number is placed. When questions

16   are posed to the jurors as a group, they will be asked to raise

17   their number if they have a response. Generally, jurors will be

18   given an opportunity to respond in numerical order.

19                Following the voir dire questioning, each side will

20   take turns exercising its peremptory challenges. The parties will
21   be given a sheet of paper (“strike sheet”) upon which they shall

22   silently     exercise     their    peremptory         challenges     in   the       manner

23   specified     on   the   strike    sheet,       commencing    with    Defendant,        by

24   passing the strike sheet back and forth until all peremptory

25   challenges are used or waived.2 See Esparza-Gonzalez, 422 F.3d at

26   899 (“Beginning with the defense, each side exercises its . . .
27
     2
           Prospective alternate juror peremptory challenges “may be used only to
28   remove alternate jurors.” Fed. R. Crim. P. 24(c)(4).
                                                3
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1    peremptory strikes on an alternating basis.”). If a side elects

2    to pass rather than exercise a particular peremptory challenge,

3    that challenge is waived.

4                 The parties agreed to retain the alternate jurors after

5    the jury retires to deliberate, and that the alternate jurors are

6    no longer required to appear in court unless directed to appear

7    by the Courtroom Deputy.

8                 D.   It was agreed at the confirmation hearing that

9    each side has up to forty-five (45) minutes to make an opening

10   statement.

11                IT IS SO ORDERED.

12   Dated:   August 7, 2015

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